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             IN THE UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF PENNSYLVANIA



PATRICIA L. ABRAMS, et al.,                        Case No. 4:16-cv-01343-MWB
          Plaintiffs,                              (Judge Matthew W. Brann)
v.

CHESAPEAKE ENERGY
CORPORATION; et al.,

            Defendants.

PAUL H. ARNOLD, et al.,
                                                   Case No. 4:16-cv-01345-MWB
            Plaintiffs,
                                                   (Judge Matthew W. Brann)
v.

CHESAPEAKE ENERGY
CORPORATION; et al.,

            Defendants.

ROBERT C. ABRAMS, JR., et al.,
                                                  Case No. 4:16-cv-01346-MWB
            Plaintiffs,
                                                  (Judge Matthew W. Brann)
v.

CHESAPEAKE ENERGY
CORPORATION; et al.,

            Defendants.
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  KYLIE E. AHERN a/k/a KYLIE E.
  PERRY, et al.,                                               Case No. 4:16-cv-01347-MWB

                Plaintiffs,                                    (Judge Matthew W. Brann)

  v.

  CHESAPEAKE ENERGY
  CORPORATION; et al.,

                Defendants.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s May 8, 2023 Order in Patricia L. Abrams v. Chesapeake Energy

Corporation, et al., 4:16-cv-1343 (“P. Abrams”), ECF No. 140; Paul H. Arnold, et al. v.

Chesapeake Energy Corporation, et al., 4:16-cv-1345 (“Arnold”), ECF No. 137; Robert C.

Abrams, Jr., et al. v. Chesapeake Energy Corporation, 4:16-cv-1346 (“R. Abrams”), ECF No. 131;

and Kylie E. Ahern, et al. v. Chesapeake Energy Corporation, 4:16-cv-1347 (“Ahern”), ECF No.

132, counsel for the parties submit the following as their Joint Status Report:

       1.      In their recent status reports, the parties have informed the Court of two

developments: (i) the status of motions to approve settlement agreements that were pending in

Chesapeake Energy Corp.’s Chapter 11 bankruptcy in the United States Bankruptcy Court for the

Southern District of Texas, Case No. 20-33233, and (ii) the Pennsylvania Supreme Court’s ruling

against the Pennsylvania Attorney General in the AG Action, dismissing all but one of the

Commonwealth’s claims. The parties provide a further update below.

       2.      On August 23, 2021, the United States District Court for the Southern District of

Texas, entered an Order granting final approval of the settlement agreements referenced in the

preceding paragraph, disposing of claims asserted in the four above captioned cases against

Chesapeake Energy Corporation and its affiliates and against The Williams Companies, Inc. and
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its affiliates. On June 8, 2023, the United States Court of Appeals for the Fifth Circuit vacated the

approval of the settlement of claims against Chesapeake Energy Corporation and its affiliates,

finding that the bankruptcy court and the United States District Court for the Southern District of

Texas lacked jurisdiction to approve the settlement.

       3.      Following the Pennsylvania Supreme Court’s March 24, 2021 decision that

dismissed the Commonwealth’s claims under the Pennsylvania Unfair Trade Practices and

Consumer Protection Law (UTPCPL), the Pennsylvania AG action was remanded to the Court of

Common Pleas of Bradford County for further proceedings. At the request of the parties, the Court

of Common Pleas held a status conference on October 6, 2021. At the conference, the Pennsylvania

Attorney General informed the court that it will continue to pursue its common law antitrust claim

against Anadarko—its sole remaining claim following the Pennsylvania Supreme Court ruling that

disposed of all of the Commonwealth’s other claims. The Court of Common Pleas subsequently

entered an order that set deadlines for Anadarko to file responsive pleadings to the

Commonwealth’s Second Amended Complaint and for the Attorney General to respond to those

pleadings.

       4.      On October 22, 2021, Anadarko filed its Amended Answer and New Matter; it later

filed a Second Amended Answer and New Matter on December 9, 2021. The Commonwealth filed

its Preliminary Objections to Anadarko’s Second Amended Answer and New Matter (“Preliminary

Objections”) on December 29, 2021, and Anadarko filed its Answer to the Commonwealth’s

Preliminary Objections on January 17, 2022. The parties then presented the Court with a stipulated

schedule to brief the Commonwealth’s Preliminary Objections. The Court entered an Order on

April 6, 2022 approving that briefing schedule. Pursuant to the Court’s April 6 Order, the

Commonwealth filed its opening brief in support of its Preliminary Objections on May 11, and




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Anadarko filed its response brief on June 13. The Court held oral argument on the Preliminary

Objections on July 13, 2022, and took the Preliminary Objections under advisement. The Court

issued a ruling largely overruling the Commonwealth’s Preliminary Objections on November 3,

2022. The Commonwealth served its Reply to the Anadarko Defendants’ Second Amended New

Matter to the Commonwealth’s Second Amended Complaint to Anadarko on December 21, 2022.

        5.      Because the Court of Common Pleas previously ruled that the AG cannot seek

monetary damages on its common law antitrust claim and the Court’s November 3, 2022 ruling

does not change this earlier ruling, and because Anadarko no longer operates or owns leases in

Pennsylvania, Anadarko believes the Court of Common Pleas should dismiss the AG’s remaining

claim on the pleadings. Therefore, on March 1, 2023, Anadarko filed a Partial Motion for Judgment

on the Pleadings (“MJOP”). Concurrently, Anadarko also filed a Motion to Stay requesting the

stay of discovery pending resolution of Anadarko’s MJOP. Anadarko filed a corrected Motion to

Stay on March 9, 2023. The Commonwealth served discovery requests on Anadarko thereafter,

on March 10 and March 17, 2023. A hearing on Anadarko’s MJOP and corrected Motion to Stay

occurred on April 28, 2023. On May 18, 2023, the Court of Common Pleas issued an Order

granting the Motion to Stay as to any discovery into damages but permitting limited discovery into

the issue of liability.

        6.      On July 25, 2023, the Court of Common Pleas granted Anadarko’s MJOP, finding

that the Commonwealth was unable to seek monetary damages on its remaining common law

antitrust claim. The Court also vacated its Order staying discovery as no longer necessary, and

ordered that the parties may resume discovery but only insofar as it involves the issue of liability.




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       7.      Given the Attorney General’s refusal to voluntarily dismiss its remaining claim,

Plaintiffs and Anadarko are continuing to assess the best way to move forward on the claims

against Anadarko in this case.

       8.      On October 31, 2022, Plaintiffs filed a Notice of Dismissal Pursuant to Federal Rule

of Civil Procedure 41(a)(1) as to Certain But Not All Defendants, dismissing the respective actions

only as to defendants Chesapeake Energy Corporation, Chesapeake Appalachia, L.L.C.,

Chesapeake Energy Marketing, Inc., Chesapeake Operating, L.L.C., as successor by conversion

and f/k/a Chesapeake Operating, Inc., in P. Abrams, at ECF No. 132, in Arnold, at ECF No. 130,

in R. Abrams at ECF No. 123, and in Ahern, at ECF No. 124, without prejudice.

       9.      On November 7, 2022, pursuant to the Notice of Dismissal filed by Plaintiffs on

October 31, 2022, the Court entered Orders, dated November 4, 2022, dismissing defendants

Chesapeake Energy Corporation, Chesapeake Appalachia, L.L.C., Chesapeake Energy Marketing,

Inc., Chesapeake Operating, L.L.C., as successor by conversion and f/k/a Chesapeake Operating,

Inc., from the actions, without prejudice, in P. Abrams, at ECF No. 135, in Arnold, at ECF No.

133, in R. Abrams, at ECF No. 126, and in Ahern, at ECF No. 127.

       10.     For the foregoing reasons, the parties respectfully request continuation of the stay

entered in these matters for another three months so that the parties can determine the best way

forward.


Dated: August 1, 2023                        Respectfully Submitted,

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